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                Exhibit 12
                                  Case 3:17-cv-00939-WHA Document 637-13 Filed 06/16/17 Page 2 of 14


Kevin Smith

From:                             Rivera, Sylvia <SRivera@mofo.com>
Sent:                             Friday, May 26, 2017 1:47 PM
To:                               Andrea P Roberts
Cc:                               UberWaymoMoFoAttorneys; ''BSF_EXTERNAL_UberWaymoLit@bsfllp.com' (BSF_EXTERNAL_UberWaymoLit@bsfllp.com)'; QE-
                                  Waymo; 'jcooper@fbm.com'; Melissa Baily
Subject:                          RE: Waymo v. Uber; privilege logs
Attachments:                      2017.05.26 CROSS of UBER_033_with 4 10 Deleted_Priv_Log_Entries.pdf


Andrea,

As discussed during yesterday’s call, attached is a chart that matches up the bates numbers of the employee attestations produced in UBER_033 to the entry
from the 4.10.17 privilege log to which each document corresponds.

Sylvia

From: Rivera, Sylvia
Sent: Thursday, May 25, 2017 1:30 PM
To: 'Andrea P Roberts'
Cc: UberWaymoMoFoAttorneys; ''BSF_EXTERNAL_UberWaymoLit@bsfllp.com' (BSF_EXTERNAL_UberWaymoLit@bsfllp.com)'; QE-Waymo; jcooper@fbm.com;
Melissa Baily
Subject: RE: Waymo v. Uber; privilege logs

Andrea,

The employee attestations are attachments to an internal, privileged Morrison & Foerster email. See Log Entry No. 1455. They do not have author information
in the metadata and the author is not identifiable from the email to which they are attached. Some entries mistakenly attributed the author to “Stroz
Friedberg,” but the attestations actually appear on the log multiple times and are more accurately described elsewhere on entries 320 (1464) and 319 (1463),
respectfully.

The attestations that were removed and were produced were non‐responsive and did not belong on the privilege log of materials required by the March 16
order to be produced by March 31, which was the sole purpose of that log. They were included only because other attachments to that email were responsive.

We disagree that the privilege descriptions have “changed significantly ” for documents that were removed from the 4.10.17 privilege log and re‐logged at your
request, we merely endeavored to be more specific in our entries as your colleagues previously requested.


                                                                               1
                                    Case 3:17-cv-00939-WHA Document 637-13 Filed 06/16/17 Page 3 of 14
I look forward to discussing further on our call.

Best,
Sylvia


From: Andrea P Roberts [mailto:andreaproberts@quinnemanuel.com]
Sent: Thursday, May 25, 2017 12:09 PM
To: Melissa Baily; Rivera, Sylvia
Cc: UberWaymoMoFoAttorneys; ''BSF_EXTERNAL_UberWaymoLit@bsfllp.com' (BSF_EXTERNAL_UberWaymoLit@bsfllp.com)'; QE-Waymo; jcooper@fbm.com
Subject: RE: Waymo v. Uber; privilege logs

- External Email -

Sylvia,

Please provide the information requested below in advance of our 1:30 p.m. call with Mr. Cooper.

Thank you.

Andrea



From: Melissa Baily
Sent: Wednesday, May 24, 2017 11:52 AM
To: Rivera, Sylvia <SRivera@mofo.com>
Cc: UberWaymoMoFoAttorneys <UberWaymoMoFoAttorneys@mofo.com>; ''BSF_EXTERNAL_UberWaymoLit@bsfllp.com'
(BSF_EXTERNAL_UberWaymoLit@bsfllp.com)' <BSF_EXTERNAL_UberWaymoLit@bsfllp.com>; QE‐Waymo <qewaymo@quinnemanuel.com>; jcooper@fbm.com
Subject: RE: Waymo v. Uber; privilege logs

Apologies, now I have added Mr. Cooper back to this thread as I had intended to.

From: Melissa Baily
Sent: Wednesday, May 24, 2017 11:51 AM
To: Rivera, Sylvia <SRivera@mofo.com>
Cc: UberWaymoMoFoAttorneys <UberWaymoMoFoAttorneys@mofo.com>; ''BSF_EXTERNAL_UberWaymoLit@bsfllp.com'
(BSF_EXTERNAL_UberWaymoLit@bsfllp.com)' <BSF_EXTERNAL_UberWaymoLit@bsfllp.com>; QE‐Waymo <qewaymo@quinnemanuel.com>
Subject: RE: Waymo v. Uber; privilege logs

                                                                               2
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Sylvia,

Production volume UBER_033 contains 91 “Employee Attestations.” Based on the information you have provided, these attestations were supposedly listed in
the 4.10.17 log of MoFo documents at entry nos. 334, 340‐369, 371‐378, 1456, 1460‐1471, 1478, 1484‐1513, and 1515‐1522. But these entries do not appear to
match the Employee Attestations that were produced.

For example, entry no. 1464 had a redacted “Sent By/Author” field – presumably that was Stroz. The “Recipients” were aferarri@mofo.com and
ecrandallwhittom@mofo.com. The “Subject Matter of Communication” was “Statement reflecting communication made in confidence by Anthony Levandowski
and/or John Gardner and shared pursuant to joint defense agreement . . .” But no emails between Stroz and MoFo are included in UBER_033. And none of the
Employee Attestations produced was signed by “Anthony Levandowski and/or John Gardner.”

Similarly, entry no. 1463 has the same redacted “Sent By/Author” field and the same aferrari@mofo.com and ecrandallwhittom@mofo.com “Recipients”
filed. The “Subject Matter of Communication” for this entry was “Statement reflecting communication made in confidence by Anthony Levandowski, Lior Ron,
Don Burnette, Soren Juelsgaard, and/or Colin Sebern and shared pursuant to joint defense agreement . . .” But again, no emails between Stroz and MoFo are
included in UBER_033. And none of the Employee Attestations was signed by any of Anthony Levandowski, Lior Ron, Don Burnette, Soren Juelsgaard, and/or
Colin Sebern.

We also note that many descriptions of documents that have been re‐logged on the basis that they were not responsive to the Court’s original expedited
discovery order have changed significantly from the 4.10.17 log to the log produced with Uber_033.

Please provide – by 2 p.m. today – a chart that matches each of the 91 Employee Attestations produced (by bates number) to the associated entry in the
4/10/17 log of MoFo documents (by entry number). If Defendants’ position really is that the entries listed in the first paragraph above correspond to the
Employee Attestations that were produced, we need an explanation as to how those Employee Attestations could possibly have been described the way they
were in the log. This casts doubt over whether any entry on any log accurately describes any particular withheld document. This is a serious issue, and Waymo
reserves all rights with respect to arguing that Defendants have waived the privileges asserted in their logs on the basis of this issue alone.

We propose discussing these issues with Mr. Cooper at 4 p.m. today if he is available. I have added Mr. Cooper back to this thread.

Thanks,
Melissa



From: Rivera, Sylvia [mailto:SRivera@mofo.com]
Sent: Monday, May 22, 2017 11:46 PM
To: Melissa Baily <melissabaily@quinnemanuel.com>
Cc: UberWaymoMoFoAttorneys <UberWaymoMoFoAttorneys@mofo.com>; ''BSF_EXTERNAL_UberWaymoLit@bsfllp.com'
(BSF_EXTERNAL_UberWaymoLit@bsfllp.com)' <BSF_EXTERNAL_UberWaymoLit@bsfllp.com>; QE‐Waymo <qewaymo@quinnemanuel.com>
Subject: RE: Waymo v. Uber; privilege logs

                                                                                3
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Melissa,

Attached is the privilege log for documents that were removed from the 4.10.17 log of Morrison & Foerster LLP documents. It contains 63 entries. Production
volume UBER_033, circulated earlier, contains 95 documents that initially were logged, including four documents that contain redactions for privilege and are
listed in the attached log. The 154 entries that were removed from the 4.10.17 privilege log are thus accounted for between the attached log and the
documents produced in UBER_033.

Sylvia

From: Rivera, Sylvia
Sent: Monday, May 22, 2017 2:24 PM
To: 'Melissa Baily'
Cc: UberWaymoMoFoAttorneys; ''BSF_EXTERNAL_UberWaymoLit@bsfllp.com' (BSF_EXTERNAL_UberWaymoLit@bsfllp.com)'; jcooper@fbm.com; QE-Waymo
Subject: RE: Waymo v. Uber; privilege logs

Melissa,

Attached please find a log of the five documents that previously were removed from the privilege log of O’Melveny & Myers documents in connection with our
March 31 production of materials responsive to the March 16 order. We are producing some of the documents that were removed from the privilege log of
Morrison & Foerster documents – we are awaiting receipt of the production volume from our vendor this afternoon and will produce that production volume
together with the log of documents previously removed that are not being produced.

Best,
Sylvia

From: Melissa Baily [mailto:melissabaily@quinnemanuel.com]
Sent: Friday, May 19, 2017 8:21 AM
To: Rivera, Sylvia
Cc: UberWaymoMoFoAttorneys; ''BSF_EXTERNAL_UberWaymoLit@bsfllp.com' (BSF_EXTERNAL_UberWaymoLit@bsfllp.com)'; jcooper@fbm.com; QE-Waymo
Subject: RE: Waymo v. Uber; privilege logs

- External Email -

Sylvia,

Please confirm that all documents dated before February 25, 2016 that were previously logged will be produced on Monday. Let’s add this to the items we
address on this morning’s 10 a.m. call with Mr. Cooper.

Thanks,

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Melissa



From: Rivera, Sylvia [mailto:SRivera@mofo.com]
Sent: Thursday, May 18, 2017 8:17 PM
To: Melissa Baily <melissabaily@quinnemanuel.com>
Cc: UberWaymoMoFoAttorneys <UberWaymoMoFoAttorneys@mofo.com>; ''BSF_EXTERNAL_UberWaymoLit@bsfllp.com'
(BSF_EXTERNAL_UberWaymoLit@bsfllp.com)' <BSF_EXTERNAL_UberWaymoLit@bsfllp.com>; jcooper@fbm.com; QE‐Waymo <qewaymo@quinnemanuel.com>
Subject: RE: Waymo v. Uber; privilege logs

Melissa,

The following entries from the 4.10.17 “Defendants’ Privilege Log Associated with the March 31, 2017 Production of Documents” (Morrison & Foerster
documents) were removed from the 4.27.17 log: 329‐334, 336‐378, 773‐775, 785, 788‐790, 795, 797, 806, 809, 811‐813, 815, 818, 822, 824, 828, 1456, 1460‐
1478, 1480‐1522, 1599‐1605, 1621, 2055‐2060, 2068, 2343‐2345, 2349‐2351, 2354, 2356. There are 154 entries, not 158 entries.

As stated in my May 11 email, they were removed because they were not responsive to the court’s March 16 order, which was the sole subject matter of those
privilege logs, and your colleagues had requested the removal of non‐responsive documents. To address your concerns, for those documents and the five that
were removed from the log of O’Melveny documents, by this Monday we will re‐log any document that arguably is responsive to another request and will
produce any documents that are not covered by the attorney‐client or any other privilege.

With regard to the five documents that were removed from the log of Uber documents, attached is the stand‐alone privilege log for the one entry that was
removed inadvertently, as referenced in my May 11 email. We have re‐confirmed that the other four documents are not responsive to any request and thus will
not be re‐logged.

Best,
Sylvia


From: Melissa Baily [mailto:melissabaily@quinnemanuel.com]
Sent: Wednesday, May 17, 2017 5:35 PM
To: Gonzalez, Arturo J.; Rivera, Sylvia; Patrick Schmidt; QE-Waymo
Cc: UberWaymoMoFoAttorneys; ''BSF_EXTERNAL_UberWaymoLit@bsfllp.com' (BSF_EXTERNAL_UberWaymoLit@bsfllp.com)'; jcooper@fbm.com
Subject: RE: Waymo v. Uber; privilege logs

- External Email -

John, Arturo,

                                                                             5
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The documents are responsive to at least five long‐pending expedited discovery requests: Faulkner 5 (documents pertaining to any due diligence reports
prepared in connection with Uber’s acquisition of Otto); Linaval 1 (documents related to due diligence on the acquisition); Meall 2 (documents sufficient to show
the reasons Defendants required any employee(s) to sign an attestation in April 2016); Morgan 3 (documents sufficient to show the measures taken by
Defendants to ensure that former Waymo employees hired by Defendants did not retain confidential Waymo information); Faulkner 6 (the forensic analysis
conducted by Stroz).

Melissa

From: Gonzalez, Arturo J. [mailto:AGonzalez@mofo.com]
Sent: Wednesday, May 17, 2017 4:34 PM
To: Melissa Baily <melissabaily@quinnemanuel.com>; Rivera, Sylvia <SRivera@mofo.com>; Patrick Schmidt <patrickschmidt@quinnemanuel.com>; QE‐Waymo
<qewaymo@quinnemanuel.com>
Cc: UberWaymoMoFoAttorneys <UberWaymoMoFoAttorneys@mofo.com>; ''BSF_EXTERNAL_UberWaymoLit@bsfllp.com'
(BSF_EXTERNAL_UberWaymoLit@bsfllp.com)' <BSF_EXTERNAL_UberWaymoLit@bsfllp.com>; jcooper@fbm.com
Subject: Waymo v. Uber; privilege logs

John,

Each of the document requests referenced below has been stayed by order of Magistrate Corley (Docket 441).

Arturo J. González
Chair, Commercial Litigation and Trial Practice Group
Morrison & Foerster LLP
425 Market St. | San Francisco, CA 94105
P: 415.268.7020 | F: 415.276.7020 | C: 415.425.9548
AGonzalez@mofo.com | www.mofo.com

From: Melissa Baily [mailto:melissabaily@quinnemanuel.com]
Sent: Wednesday, May 17, 2017 2:10 PM
To: Rivera, Sylvia; Patrick Schmidt; QE-Waymo
Cc: UberWaymoMoFoAttorneys; ''BSF_EXTERNAL_UberWaymoLit@bsfllp.com' (BSF_EXTERNAL_UberWaymoLit@bsfllp.com)'; jcooper@fbm.com
Subject: RE: Waymo v. Uber; privilege logs

- External Email -

Sylvia,

The documents you identified as having been removed from certain of Defendants’ privilege logs appear to relate to the Stroz Friedberg investigation. Those
documents are responsive to the Court’s March 16, 2017 Order and/or at least one or more of the following requests for production: (1) Waymo’s Request For
Production 28, which calls for documents and communications regarding Uber’s due diligence of Ottomotto; (2) Waymo’s Request For Production 31, which calls
                                                                                6
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for communications between Mr. Levandowski and Uber before August 18, 2016; (3) Waymo’s Request For Production 66, which calls for documents regarding
Defendants’ forensic analysis (4) Waymo’s Request For Production 67, which calls for exhibits and attachments to the Stroz Friedberg due diligence report; and
(5) Waymo’s Request For Production 73, which calls for documents regarding the misappropriated materials.

By no later than tomorrow, please produce these documents or provide an amended log that includes them.

It has now been eight days since Waymo asked for an identification of the 158 entries Defendants removed from the privilege log related to Morrison &
Foerster. Please identify these entries and produce the corresponding documents no later than tomorrow.

We have copied Mr. Cooper here so that we can discuss these issues at 5:30 p.m.

Thanks,
Melissa



From: Rivera, Sylvia [mailto:SRivera@mofo.com]
Sent: Thursday, May 11, 2017 10:19 AM
To: Melissa Baily <melissabaily@quinnemanuel.com>; Patrick Schmidt <patrickschmidt@quinnemanuel.com>; QE‐Waymo <qewaymo@quinnemanuel.com>
Cc: UberWaymoMoFoAttorneys <UberWaymoMoFoAttorneys@mofo.com>; ''BSF_EXTERNAL_UberWaymoLit@bsfllp.com'
(BSF_EXTERNAL_UberWaymoLit@bsfllp.com)' <BSF_EXTERNAL_UberWaymoLit@bsfllp.com>
Subject: RE: Waymo v. Uber; privilege logs

Melissa, Patrick:

We did not add new documents to those privilege logs. In the course of meeting and conferring about the logs, your colleagues asked that we supplement the
logs by removing non‐responsive documents and also asked that entries be re‐organized into chronological order. Per that request, we attempted to do
both. They did not ask us to track and inform them what was removed. Your objection is therefore unfounded. But to facilitate your review, we will provide
you the entry numbers from the original privilege logs for documents that subsequently were removed because they were non‐responsive.

Entries Removed from Supplemental Privilege Log (O’Melveny custodian): 287, 288, 296, 297, 298

Entries Removed from Second Supplemental Privilege Log (Uber custodians): 48, 115, 351, 535, 536. We have determined the document at entry no. 535 was
inadvertently removed from the log. It is both responsive and privileged, and we will provide you a log to re‐account for that document.

We are compiling the list of entries removed from the log of Morrison & Foerster documents and will send that to you under separate cover.

Regards,
Sylvia

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From: Melissa Baily [mailto:melissabaily@quinnemanuel.com]
Sent: Thursday, May 11, 2017 7:55 AM
To: Patrick Schmidt; Rivera, Sylvia; QE-Waymo
Cc: UberWaymoMoFoAttorneys; ''BSF_EXTERNAL_UberWaymoLit@bsfllp.com' (BSF_EXTERNAL_UberWaymoLit@bsfllp.com)'
Subject: RE: Waymo v. Uber; privilege logs

- External Email -

Counsel, please also provide a response on this by noon today.

Thanks, Melissa

From: Patrick Schmidt
Sent: Tuesday, May 09, 2017 12:41 PM
To: Rivera, Sylvia <SRivera@mofo.com>; QE‐Waymo <qewaymo@quinnemanuel.com>
Cc: UberWaymo <UberWaymo@mofo.com>; ''BSF_EXTERNAL_UberWaymoLit@bsfllp.com' (BSF_EXTERNAL_UberWaymoLit@bsfllp.com)'
<BSF_EXTERNAL_UberWaymoLit@bsfllp.com>
Subject: RE: Waymo v. Uber; privilege logs

Sylvia,

It looks like the unredacted version of Morrison & Foerster’s original privilege log contains 158 fewer entries than the original redacted version; the
unredacted supplemental privilege log of O’Melveny documents contains 5 fewer entries than the original redacted version; and the unredacted
second supplemental privilege log of Uber documents contains 5 fewer entries than the original redacted version. Because the order of entries has
changed and Defendants are unwilling to provide native versions of its logs, it is extremely difficult for us to tell which entries have been deleted (or
potentially added). Please identify which entries have been deleted (and/or added) between service of the redacted logs and the corresponding
unredacted logs, confirm that the documents related to any deleted entries have been produced, and provide bates numbers.


Patrick Schmidt
Associate
Quinn Emanuel Urquhart & Sullivan, LLP
865 S. Figueroa Street, 10th Floor
Los Angeles, CA 90017
213-443-3191 Direct
213-443-3000 Main Office Number
213-443-3100 Fax
patrickschmidt@quinnemanuel.com
www.quinnemanuel.com

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mail, and delete the original message.




From: Rivera, Sylvia [mailto:SRivera@mofo.com]
Sent: Thursday, April 27, 2017 1:31 PM
To: QE‐Waymo <qewaymo@quinnemanuel.com>
Cc: UberWaymo <UberWaymo@mofo.com>; ''BSF_EXTERNAL_UberWaymoLit@bsfllp.com' (BSF_EXTERNAL_UberWaymoLit@bsfllp.com)'
<BSF_EXTERNAL_UberWaymoLit@bsfllp.com>
Subject: Waymo v. Uber; privilege logs

Quinn Team,

Today we forwarded unredacted, amended versions of Defendants’ initial, supplemental, and second supplemental privilege logs associated with the March 31,
2017 production. We revised those logs consistent with Arturo Gonzalez’s email of April 25, 2017. Among other things, we revised the log of documents at Uber
(second supplemental log) to now list the individual custodians for each document and to list the author for email attachments; revised the “subject matter of
communication” to more specifically address the “anticipated litigation”; revised certain entries to address your objection to use of the disjunctive “and/or”;
removed from the log certain documents that were non-responsive; and attempted to place the Morrison & Foerster LLP and O’Melveny & Myers log entries in
chronological order.

As noted in Mr. Gonzalez’s April 25 email, for each email log entry that constitutes one email in an email string, we will review the email strings and note the
names of any additional senders/recipients who are not already listed in the log entry. Given the volume of log entries, that potentially could take up to two weeks
to complete for all logs. We will endeavor to provide you with the updated logs on a rolling basis. Of course, based on our review, most of the earlier emails in
any email string already appear on the logs as stand-alone log entries, so you already have most of that information in the existing logs.

Last, we are attempting to address your concerns as they would apply to the supplemental log of Morrison & Foerster documents that run through the date of the
filing of the complaint in this action and the stand-alone log of the investigative report. We expect to produce those tomorrow.

Regards,
Sylvia


============================================================================

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message in error, please delete it and advise the sender by reply email.

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      Waymo LLC v. Uber Technologies, Inc. et al., No. 3:17‐cv‐00939‐WHA (N.D. Cal.)

       CROSS‐REFERENCE OF EMPLOYEE ATTESTATIONS PRODUCED IN UBER_033
                   WITH APRIL 10, 2017 PRIVILEGE LOG ENTRIES

                 4/10/2017 Priv      PROD_BEG             PROD_END
                    Log Entry
                      334          UBER00017154         UBER00017154
                      340          UBER00017155         UBER00017155
                      341          UBER00017156         UBER00017156
                      342          UBER00017157         UBER00017157
                      343          UBER00017158         UBER00017158
                      344          UBER00017159         UBER00017159
                      345          UBER00017160         UBER00017160
                      346          UBER00017161         UBER00017161
                      347          UBER00017162         UBER00017162
                      348          UBER00017163         UBER00017163
                      349          UBER00017164         UBER00017164
                      350          UBER00017165         UBER00017165
                      351          UBER00017166         UBER00017166
                      352          UBER00017167         UBER00017167
                      353          UBER00017168         UBER00017168
                      354          UBER00017169         UBER00017169
                      355          UBER00017170         UBER00017170
                      356          UBER00017171         UBER00017171
                      357          UBER00017172         UBER00017172
                      358          UBER00017173         UBER00017173
                      359          UBER00017174         UBER00017174
                      360          UBER00017175         UBER00017175
                      361          UBER00017176         UBER00017176
                      362          UBER00017177         UBER00017177
                      363          UBER00017178         UBER00017178
                      364          UBER00017179         UBER00017179
                      365          UBER00017180         UBER00017180
                      366          UBER00017181         UBER00017183
                      367          UBER00017184         UBER00017184
                      368          UBER00017185         UBER00017185
                      369          UBER00017186         UBER00017186
                      371          UBER00017187         UBER00017187
                      372          UBER00017188         UBER00017188
                      373          UBER00017189         UBER00017189
                      374          UBER00017190         UBER00017190
                      375          UBER00017191         UBER00017191
                      376          UBER00017192         UBER00017192
                      377          UBER00017193         UBER00017193
                      378          UBER00017194         UBER00017194
                      1456         UBER00017195         UBER00017195
                      1460         UBER00017196         UBER00017196
                      1461         UBER00017197         UBER00017197



                                                                                       1
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      Waymo LLC v. Uber Technologies, Inc. et al., No. 3:17‐cv‐00939‐WHA (N.D. Cal.)

       CROSS‐REFERENCE OF EMPLOYEE ATTESTATIONS PRODUCED IN UBER_033
                   WITH APRIL 10, 2017 PRIVILEGE LOG ENTRIES

                 4/10/2017 Priv      PROD_BEG             PROD_END
                    Log Entry
                      1462         UBER00017198         UBER00017198
                      1463         UBER00017199         UBER00017199
                      1464         UBER00017200         UBER00017200
                      1465         UBER00017201         UBER00017201
                      1466         UBER00017202         UBER00017202
                      1467         UBER00017203         UBER00017203
                      1468         UBER00017204         UBER00017204
                      1469         UBER00017205         UBER00017205
                      1470         UBER00017206         UBER00017206
                      1471         UBER00017207         UBER00017207
                      1478         UBER00017208         UBER00017208
                      1484         UBER00017209         UBER00017209
                      1485         UBER00017210         UBER00017210
                      1486         UBER00017211         UBER00017211
                      1487         UBER00017212         UBER00017212
                      1488         UBER00017213         UBER00017213
                      1489         UBER00017214         UBER00017214
                      1490         UBER00017215         UBER00017215
                      1491         UBER00017216         UBER00017216
                      1492         UBER00017217         UBER00017217
                      1493         UBER00017218         UBER00017218
                      1494         UBER00017219         UBER00017219
                      1495         UBER00017220         UBER00017220
                      1496         UBER00017221         UBER00017221
                      1497         UBER00017222         UBER00017222
                      1498         UBER00017223         UBER00017223
                      1499         UBER00017224         UBER00017224
                      1500         UBER00017225         UBER00017225
                      1501         UBER00017226         UBER00017226
                      1502         UBER00017227         UBER00017227
                      1503         UBER00017228         UBER00017228
                      1504         UBER00017229         UBER00017229
                      1505         UBER00017230         UBER00017230
                      1506         UBER00017231         UBER00017231
                      1507         UBER00017232         UBER00017232
                      1508         UBER00017233         UBER00017233
                      1509         UBER00017234         UBER00017234
                      1510         UBER00017235         UBER00017237
                      1511         UBER00017238         UBER00017238
                      1512         UBER00017239         UBER00017239
                      1513         UBER00017240         UBER00017240
                      1515         UBER00017241         UBER00017241



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       CROSS‐REFERENCE OF EMPLOYEE ATTESTATIONS PRODUCED IN UBER_033
                   WITH APRIL 10, 2017 PRIVILEGE LOG ENTRIES

                 4/10/2017 Priv      PROD_BEG             PROD_END
                    Log Entry
                      1516         UBER00017242         UBER00017242
                      1517         UBER00017243         UBER00017243
                      1518         UBER00017244         UBER00017244
                      1519         UBER00017245         UBER00017245
                      1520         UBER00017246         UBER00017246
                      1521         UBER00017247         UBER00017247
                      1522         UBER00017248         UBER00017248




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